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 7
                            IN THE UNITED STATES DISTRICT COURT
 8
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
      LINH HOANG, on behalf of himself and all   Case No.: 2:20-cv-02106-MCE-JDP
11    others similarly situated,
12                             Plaintiff,
                                                 NOTICE OF VOLUNTARY DISMISSAL
13                    vs.                        PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
14    SUNWORKS, INC., CHARLES F. CARGILE,
      DANIEL GROSS, JUDITH HALL, RHONE
15    RESCH, STANLEY SPEER, THE PECK
      COMPANY HOLDINGS, INC., and PECK
16    MERCURY, INC.,
17                             Defendants.
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          NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
 1          Notice is hereby given that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

 2 Procedure, plaintiff Linh Hoang (“Plaintiff”) voluntarily dismisses this action without prejudice as

 3 to both Plaintiff and the putative class. This notice of dismissal is being filed before service by

 4 Defendants of either an answer or a motion for summary judgment. Since no class has been

 5 certified and the dismissal is without prejudice as to Plaintiff and all other members of the putative

 6 class, notice of this dismissal is not required. Plaintiff’s dismissal of this Action is effective upon

 7 filing of this notice.

 8

 9   Dated: July 22, 2021                               BRODSKY SMITH

10                                                By: /s/ Evan J. Smith
                                                      Evan J. Smith, Esquire (SBN 242352)
11
                                                      esmith@brodskysmith.com
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           NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)
